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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 19–05–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 ARTEMUS LAVELLE BROCK,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on June 10, 2019. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Artemus Lavelle Brock’s

guilty plea after Brock appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession of cocaine in

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violation of 21 U.S.C. § 844(a), as set forth in the Superseding Information. In

exchange for Defendant’s plea, the United States agrees to dismiss the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

81), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Artemus Lavelle Brock’s motion to

change plea (Doc. 53) is GRANTED and Artemus Lavelle Brock is adjudged

guilty as charged in the Superseding Information.

      DATED this 25th day of June, 2019.




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